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                   Exhibit 2
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 1              UNITED STATES DISTRICT COURT
               NORTHERN DISTRICT OF CALIFORNIA
 2

 3     IN RE: ROUNDUP                 )
       PRODUCTS LIABILITY             )   MDL No. 2741
 4     LITIGATION                     )
       _____________________          )   Case No.
 5     THIS DOCUMENT RELATES          )   16-md-02741-VC
       TO ALL CASES                   )
 6

 7                  SATURDAY, APRIL 8, 2017
 8   CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER
 9                               – – –
10                 Videotaped deposition of John
11   Acquavella, Ph.D., Volume II, held at the
12   offices of HUSCH BLACKWELL, L.L.C., 190
13   Carondelet Plaza, Suite 600, St. Louis,
14   Missouri, commencing at 9:11 a.m., on the
15   above date, before Carrie A. Campbell,
16   Registered Diplomate Reporter, Certified
17   Realtime Reporter, Illinois, California &
18   Texas Certified Shorthand Reporter, Missouri
19   & Kansas Certified Court Reporter.
20                             – – –
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 1   V I D E O G R A P H E R :
           DAN LAWLOR,
 2         Golkow Technologies, Inc.
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 1            Q.       Did that one valid -- one
 2   invalid urine sample on glyphosate affect the
 3   study outcome or evaluation?
 4                     MR. MILLER:       Objection.
 5            Leading.
 6                     THE WITNESS:       No.    In fact, if
 7            you look at my publication with
 8            colleagues from 2004, I can just show
 9            you very easily that it had --
10   QUESTIONS BY MR. COPLE:
11            Q.       You have the 2004.
12            A.       Oh, I have the 2004.
13            Q.       Yes.
14            A.       Okay.     So I will -- that's
15   cancer incidence.         That's De Roos.
16            Q.       Which exhibit are you on,
17   Doctor?
18            A.       I'm on 10-35.
19                     So if you look at Table 3, as I
20   mentioned, there was one invalid sample for
21   glyphosate that couldn't be included in our
22   analysis.      You can see that it was a sample
23   from the day before the glyphosate
24   application.       It was a preapplication sample.
25                     There we have 47 out of 48

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 1   applicators contributing a valid urine
 2   sample.       But for the day of application, the
 3   day after the application, and for the
 4   following two days after the application, we
 5   have valid samples for every applicator.
 6                     And the preapplication samples
 7   actually don't figure into the calculations
 8   for glyphosate body burden.             And in fact, if
 9   you look in that table, because virtually all
10   of the preapplication samples, 85 percent of
11   them, that were valid were less than the
12   limited detection, we didn't even calculate
13   an average value for those samples.
14                     So there's no analysis that we
15   present in this 2004 paper that's influenced
16   by the person who participated in the study
17   submitting an invalid sample.
18            Q.       Let me turn now to what was
19   marked as Exhibit 10-13 by counsel for your
20   deposition yesterday.
21            A.       I don't have that yet.
22            Q.       No, I'm going to hand it to
23   you, Doctor.
24            A.       Okay.
25            Q.       I'm handing it to you now.

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